    Case 1:13-cr-00084-RJA-HKS         Document 89      Filed 11/03/14    Page 1 of 9




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,
                                                              13-CR-84A
              -v-

KELLY ATKINSON,
                Defendant.
___________________________________



                                  DECISION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

on dispositive motions. Dkt. #12.



                                 PRELIMINARY STATEMENT

              The defendant, Kelly Atkinson (“the defendant”), is charged in eighteen

counts of a seventy-one count Second Superseding Indictment, with having violated:

Title 18, United States Code, Section 1344 (bank fraud) (Count 1); Title 18, United

States Code, Section 1349 (conspiracy to commit bank fraud) (Count 2); Title 18, United

States Code, Section 1343 (wire fraud) (Counts 5-14); and, Title 18, United States

Code, Section 1349 (conspiracy to commit wire fraud) (Count 15). Dkt. #69. Presently

pending is the defendant’s omnibus discovery motion. Dkt. #55. The government filed

opposition to the motion. Dkt. #63. Following oral argument, in a Text Order entered on

June 4, 2014, this Court denied that portion of defendant Atkinson’s motion seeking a

bill of particulars. Dkt. #64.
    Case 1:13-cr-00084-RJA-HKS           Document 89      Filed 11/03/14   Page 2 of 9




                               DISCUSSION AND ANALYSIS

Motion for Severance


                 By this request, defendant Kelly Atkinson seeks severance from his co-

defendant, Brian Avery Smith. A Decision and Order on defendant’s motion to sever is

left to the discretion of the District Judge to whom this case is assigned, District Judge

Richard J. Arcara.



Discovery and Inspection

                 In his motion, the defendant acknowledges that the government has

provided a copy of discovery to defense counsel. Dkt. #44, p.4. Pursuant to Federal

Rule of Criminal Procedure 16(a)(1)(A)(B) & (D), the defendant now seeks disclosure of

the following:

                 a. Disclosure of the names and identities of expert witnesses
                 that the Government intends to call at trial, their
                 qualifications, subject of testimony, and reports and the
                 results of tests, examinations or experiments which are
                 material to the preparation of Defendant’s defense,
                 or which are intended for use by the Government in its
                 evidence-in-chief at trial.

                 b. Pursuant to Rule 12(b)(4) of the Federal Rules of Criminal
                 Procedure, the Defendant requests written notification of any
                 evidence the Government intends to use at its case-in-chief
                 that may, in any way, be subject to a motion to suppress in
                 which the Defendant is entitled to discover pursuant
                 to Rule 16.

Dkt. #55, p.5. In its response, the government contends that through the voluntary

discovery process it has provided or made available all material presently within its

possession that is within the purview of Rule 16 and in compliance with Rule 12(b)(4)(B)



                                               2
    Case 1:13-cr-00084-RJA-HKS         Document 89      Filed 11/03/14     Page 3 of 9




and believes that discovery is complete. Dkt. #63, p.10. Moreover, with respect to the

defendant’s request concerning expert testimony, the government states,

              [t]he government is not aware of the existence of any results
              or reports of physical or mental examinations, or of any
              scientific tests or experiments made in connection with the
              case. If any such examinations, tests, or experiments are
              conducted, results will be provided upon receipt by the
              government.

Dkt. #63, p.11. Accordingly, based on the representations made by the government,

the defendant’s request is denied as moot.



Disclosure of Informant Information

              By this request the defendant seeks the disclosure of the names,

addresses and criminal records of any informants used by the government in its

investigation of this case. Dkt. #55, p.5. In its response, the government states that it is

not aware of the involvement of any informants in this investigation. Moreover, the

government asserts that the defendant is unable to make a sufficient showing to

demonstrate that the disclosure of informant identities is essential to the effective

preparation of the defense. Based on the representation of the government that it is not

aware of the involvement of any informants in this investigation, the defendant’s request

is denied as moot.



Brady and Giglio Material

              The government has acknowledged its affirmative, continuing duty to

provide defendant with exculpatory evidence under Brady v. Maryland, 373 U.S. 83

(1963) and evidence that the defendant might use to impeach the government’s

                                             3
    Case 1:13-cr-00084-RJA-HKS         Document 89      Filed 11/03/14   Page 4 of 9




witnesses at trial under Giglio v. United States, 405 U.S. 150 (1972) and subsequent

cases. Dkt. #63, p.13. In addition, the government has further stated,

             In the instant case, the government agrees to provide
             impeachment Brady material, i.e., promises of leniency or
             immunity agreements with government witnesses, plea
             and/or non-prosecution agreements and letters or
             memorandum of understanding regarding such, criminal
             arrest records of all prosecution witnesses, immoral, vicious
             or criminal acts committed by witnesses, prior inconsistent
             statements, and payments to witnesses or family members
             thereof, and all other promises or considerations given by
             government personnel to government witnesses or family
             members thereof, in accordance with the schedule set by the
             District Court prior to trial and no later than when the
             government produces and delivers the Jencks Act material
             in this case.

Dkt. #63, pp.14-15. Based on these representations, the defendant’s request for such

materials, i.e., Brady and Giglio is denied, but the government is hereby directed to

comply with the Second Circuit Court of Appeals’ holding in United States v. Coppa, 267

F.3d 132 (2d Cir. 2001) and United States v. Rodriguez, 496 F.3d 221 (2d Cir. 2007) by

making timely disclosure of those materials to the defendant.



             “[A]s a general rule, Brady and its progeny do not require immediate

disclosure of all exculpatory and impeachment material upon request by a defendant.”

Coppa, at 146. The prosecution is obligated to disclose and turn over Brady material to

the defense “in time for its effective use.” Coppa, at 144. With respect to impeachment

material that does not rise to the level of being Brady material, such as Jencks

statements, the prosecution is not required to disclose and turn over such statements

until after the witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule

26.2 Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

                                            4
     Case 1:13-cr-00084-RJA-HKS           Document 89        Filed 11/03/14   Page 5 of 9




government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.




Disclosure Of Evidence Pursuant To Rules 404(b), 608 And 609

               In response to the defendant’s request for disclosure pursuant to Federal

Rules of Evidence 404(b), 608 and 609, the government states that “[b]y way of

discovery in this case, the defendants have been provided with the indication that the

government’s intention is to offer proof that these activities are such crimes, wrongs or

acts which the government intends to introduce during its direct case at trial.” Dkt. #63,

p.15.



               Rule 404(b) of the Federal Rules of Evidence only requires that “the

prosecution . . . provide reasonable notice in advance of trial . . . of the general nature of

any such evidence it intends to introduce at trial” (emphasis added). This has been

done, and as a result, defendant’s request on this issue is denied as being moot.



               The issue of admissibility of such evidence, as raised in the defendant’s

request, pursuant to Rules 404(b), 608 and 609 of the Federal Rules of Evidence is best

left to the determination of the trial judge at the time of trial.



               Rule 608 of the Federal Rules of Evidence does not contain a required

pretrial notice as set forth in Rule 404(b). Therefore, there is no requirement on the part

                                                5
    Case 1:13-cr-00084-RJA-HKS         Document 89       Filed 11/03/14    Page 6 of 9




of the government to make any disclosure of evidence, or its intent to use evidence at

the trial pursuant to Rule 608 at this time. Therefore, defendant’s request in this regard

is denied.



Early Disclosure of Jencks Material

              The defendant seeks the early disclosure of any reports and statements of

government witnesses. Dkt. #55, pp.12-13. The government responds that it will

comply with its duties under Title 18, United States Code, Section 3500. The

defendant’s motion is denied based on the representations of counsel for the

government. With respect to those statements encompassed by this statute, the

prosecution is not required to disclose and turn over Jencks statements until after the

witness has completed his direct testimony. See 18 U.S.C. § 3500; Rule 26.2

Fed.R.Crim.P.; In Re United States, 834 F.2d 283 (2d Cir. 1987). However, if the

government has adopted a policy of turning such materials over to the defendant prior

to trial, the government shall comply with that policy; or in the alternative, produce such

materials in accordance with the scheduling order issued by the trial judge.



Rough Notes

              By this request, the defendant seeks an Order from this Court requiring

all government agents and officers who participated in this investigation to retain and

preserve all rough notes taken as part of their investigation, regardless of whether or not

the contents of the notes are incorporated in official records. Dkt. #55, pp.14-15. In its

response, the government states, “[r]egarding rough notes, no such basis exists at this



                                             6
    Case 1:13-cr-00084-RJA-HKS         Document 89      Filed 11/03/14    Page 7 of 9




time for providing the requested materials. The government will endeavor to maintain

such materials, should they exist.” Dkt. #63, p.12.



              Although perhaps unnecessary, based on the representations made by

counsel for the government concerning its acknowledgment of its obligation and its

agreement to instruct the agents to retain and preserve rough notes, the express

admonition of the Court of Appeals for the Second Circuit bears repeating in addressing

this particular request of the defendant wherein the Court stated:

              [W]e will look with an exceedingly jaundiced eye upon future
              efforts to justify non-production of a Rule 16 or Jencks Act
              “statement” by reference to “departmental policy” or
              “established practice” or anything of the like. There simply is
              no longer any excuse for official ignorance regarding the
              mandate of the law. Where, as here, destruction is
              deliberate, sanctions will normally follow, irrespective of the
              perpetrator’s motivation, unless the government can bear the
              heavy burden of demonstrating that no prejudice resulted to
              the defendant. . . . We emphatically second the district
              court’s observation that any resulting costs in the form of
              added shelf space will be more than counterbalanced both
              by gains in the fairness of trials and also by the shielding of
              sound prosecutions from unnecessary obstacles to a
              conviction.


United States v. Buffalino, 576 F.2d 446, 449-50, (2d Cir.), cert. denied, 439 U.S. 928

(1978); see also United States v. Grammatikos, 633 F.2d 1013, 1019-20 (2d Cir. 1980);

United States v. Miranda, 526 F.2d 1319 (2d Cir. 1975), cert. denied, 429 U.S. 821

(1976). Accordingly, the government is hereby directed to maintain and preserve all

materials that are known by the government to exist, that constitute potential Jencks Act

material in this case.




                                            7
    Case 1:13-cr-00084-RJA-HKS         Document 89      Filed 11/03/14    Page 8 of 9




Joinder

              Defendant Atkinson seeks to join in the motions filed by his co-defendant

Brian Avery Smith. This request is granted with the further directive and finding that the

decision made by this Court as to the co-defendant’s requests contained in the omnibus

motion in which this defendant joins, shall also be deemed to be the finding and Order

of this Court as to the defendant herein.



Further Relief

              By this request, the defendant, “reserves the right to make further and

additional motions which may be necessitated by the Court’s rulings on the relief herein.

The specific requests contained in these motions are not meant to limit or preclude

future requests by the Defendant for further relief from this Court as appropriate.” Dkt.

#55, p.16. Subject to the limitation contained in the aforesaid quotation, the defendant’s

request to make further and additional motions that may be necessary is granted.



              It is hereby ORDERED pursuant to 28 U.S.C § 636(b)(1) that:



              This Decision and Order be filed with the Clerk of Court.



              ANY OBJECTIONS to this Decision and Order must be filed with the

Clerk of this Court within fourteen (14) days after receipt of a copy of this Decision and

Order in accordance with the above statue, Fed.R.Crim.P. 58(g)(s) and Local Rule 58.2.




                                            8
    Case 1:13-cr-00084-RJA-HKS          Document 89      Filed 11/03/14     Page 9 of 9




              The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

to file objections within the specified time or to request an extension of such time

waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

(1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:        November 3, 2014
              Buffalo, New York




                                                  s/ H. Kenneth Schroeder, Jr.
                                                  H. KENNETH SCHROEDER, JR.
                                                  United States Magistrate Judge



                                             9
